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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                          Plainitff,             Hon. John Corbett O’Meara

v.                                               Case No. 05-CR-90014 - 01

MOHAMAD ALI FAWAZ,

                       Defendant.

                                       /



              OPINION SUPPORTING COURT’S NOT GUILTY RULING

       After presentation of proofs and closing arguments, neither party requested

formal findings and conclusions pursuant to Rule 23 of the Federal Rules of Criminal

Procedure. The court has, therefore, entered its decision that the defendant is not guilty

in this matter by a general finding pursuant to Rule 23.

       The court nevertheless is making Findings of Facts and Conclusions of Law

because it believes that the exchange between counsel and court during the conclusion

of the courtroom proceedings likely led counsel to believe that a formal Rule 23 request

had been made, and because it believes this matter deserves detailed Findings of Facts

and Conclusions of Law, and this Opinion, supporting the “Not Guilty” finding.

       Marriage, a formal, public and enforceable commitment of one to another exists

in most of the world’s discernable cultures. However, it is not recognized by the same

public ceremony nor informed by identical ideation in all cultures and religions.
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       A “marriage” may be formed, as it is in some places, by simple cohabitation; in

most cultures and religions, however, it is marked by some form of public ceremony,

often elaborate and expansive both in time and cost.

       Depending upon one’s religion and cultural background, marriage may be a

lifetime commitment. No divorce or it may be to more than one wife. (To more than

one husband, too, perhaps.) It may be, as is true in modern times in most Judaic and

Christian cultures, based on the presumption that the couple being married found each

other and “fell in love.” Of course, even in these cultures, until relatively recent times,

there were “marriages of convenience,” the convenience usually being the economic or

hegemonic interests of the fathers of the bride and the groom. This was especially true

if royal families were involved.

       Where divorce is allowed, it takes many forms. It can be as complicated and

elaborate as it sometimes seems to be in western society or as quick and easy (or so it

is said) as the husband simply announcing that the marriage has ended.

       Judge Richard Posner, in one of his books exploring the economic aspects of

practically everything, has said that the decision to marry is often informed, at least to

some extent, by economic considerations. See generally Richard A. Posner, Sex and

Reason (1992).

       In this case, in order to convict the defendant, the Court would need to conclude

that he entered into his marriage to Amal Fawaz without intending it to be a marriage at

all, but rather a device to allow him to transport himself to the United States, and

eventually obtain a green card.



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       However, the evidence in this case does not support a conclusion that such

fraudulent intent was present at the time of defendant’s marriage. In fact, the evidence

that one might reasonably say supports the government’s arguments that the marriage

was fraudulent1 is substantially outweighed by the evidence one might reasonably point

to which suggests that the marriage was not fraudulent at all.2 As this Court (and Judge

Posner apparently) believes, most marriages are motivated by a congeries of

complicated, often inconsistent, considerations. This does not render a marriage any

less a marriage or any less enforceable in most cultural/religious/legal situations.

       The government makes much of the fact that all witnesses agreed that this

marriage was not “consummated.” Surely here the absence of conjugal sex must be

rare after marriage (or these days, before marriage in many places). But Amal and

       1
        a. He fought with Amal.
        b. Mohamad returned to Lebanon and stayed there without communicating with Amal for many
       months. Mohamad allegedly protected his married entree into U.S. by filing married certification in
       Lebanon.
       c. Mohamad wrote Michigan Circuit Judge Callahan when he learned that Amal filed for
       annulment.
       d. Mohamad allegedly told Amal (overheard by her mother) that the only reason he married her
       was to get to America.
       e. Mohamad finally “attempted” to get back into this country illegally.


       2
         a. He fought with Amal.
       b. After Amal’s first immigration papers were filed, he lived in a house with Amal her mother, and
       her sisters. The house was owned by Amal’s father who allegedly told defendant and Amal they
       could not “consummate” their marriage until Mohamad moved to a place where he was supporting
       the two of them.
       c. The defendant worked for Amal’s father.
       d. He apparently worked long hours at the father’s gas station.
       e. One of the couple’s fights ended in his being walking out or being kicked out.
       f. Amal and Mohamad talked of divorce.
       g. Amal and Mohamad talked to Amal’s father about divorce.
       h. Mohamad and Amal had “intimate moments” short of conjugal sex.
       i. Amal needed to finish high school. There is some evidence that it was not unusual in the
       Moslem religious and cultural community to afiance a very young woman, leave her untouched
       sexually until she is older, finishes, for example, high school, gets out of her parents’ house and
       the husband can support her independently.

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Mohamad Fawaz were not part of this culture. Independent of that fact, Amal’s age at

the time the parties considered themselves “married” (16) and, among other things, the

atmosphere in which the parties lived, would seem to support the defendant’s testimony

that he followed the will of Amal’s father who did not want the marriage “consummated”

until Mohamad Fawaz was able to house and support his wife independently.

          With this in mind, the court makes the following findings of fact and conclusions

of law.

                                      FINDINGS OF FACT

1.        Defendant Mohamad Ali Fawaz is a Lebanese citizen, originally from the town of

          Tebnine. He was born on May 1, 1976.

2.        Amal Fawaz was born on August 1, 1985 in the United States. She has both

          Lebanese and American citizenship. At all relevant times she was a permanent

          resident of Dearborn, MI.

3.        During the summer of 2000, Amal vacationed in Tebnine, Lebanon for three

          months with her father and sister.

4.        Mohamad’s parents live next door to Amal’s paternal grandparents in Tebnine.

          Pursuant to their culture, Mohamed asked Amal’s father, Hussein Fawaz, for

          permission to speak with Amal during the summer of 2000.

5.        Mohamad was aware that Amal was a United States citizen when he asked her

          father if he could speak to her. At all relevant times, Mohamad was aware that

          marrying someone for the sole purpose of obtaining legal immigrant status is a

          violation of United States law.



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6.    For approximately one month, Mohamad came to visit Amal daily. They got to

      know each other. Pursuant to their culture, the two did not touch each other.

7.    Amal returned to Dearborn in late August of 2000 to return to high school.

      Mohamad and Amal continued to communicate via email daily and on the phone

      approximately once a week. Mohamad and Amal decided that they would

      become engaged. Both of their parents approved.

8.    Amal came back to Tebnine in the summer of 2001. Mohamad and Amal had an

      engagement ceremony on August 18, 2001. A religious cleric presided over the

      ceremony. The ceremony was attended by over 100 guests, including many

      family members of both Mohamad and Amal. The couple appeared to be happy

      during the ceremony. Mohamad’s family paid Amal’s family a dowry of $3,000

      and some gold jewelry. The families entered into a contract which provided that

      if Amal asked for a divorce, she would return the dowry, and if Mohamad asked

      for a divorce, his family would pay her family $35,000. This ceremony was

      sufficient to constitute a marriage in the Muslim culture.

9.    Amal believed she was entering into a valid marriage.

10.   Amal returned to the United States in the fall of 2001. Mohamad remained in

      Lebanon. The two continued to speak by telephone and email regularly. They

      decided that Mohamad would come to the United States. In November 2001,

      Amal filed a petition with U.S. immigration asking that Mohamad be given a

      temporary visa as an alien fiance. Because Amal was not financially self-

      sufficient, her father Hussein signed an affidavit claiming that he would support

      Mohamad if necessary. Mohamad was granted a K-1 visa at the U.S. embassy

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      in Damascus, Syria on April 29, 2002.

11.   Mohamad entered the United States at Detroit Metropolitan Airport on May 6,

      2002. On May 25, 2002, Mohamad and Amal had another marriage ceremony

      conducted by a Muslim cleric. They received a marriage license from the State

      of Michigan. Amal’s parents each signed a consent form to allow her to marry

      because she was under the age of 18 at the time of the marriage.

12.   On May 31, 2002, Mohamad’s immigration status was adjusted to conditional

      resident alien. His immigration status was subject to the condition that he retain

      the status of being married to a United States citizen.

13.   From May 2002 until February 2003, Mohamad lived with Amal, her mother, and

      three of Amal’s siblings in a house in Dearborn. Mohamad slept in his own

      bedroom. Amal shared a room with her sisters and continued her high school

      education. Amal’s father Hussein instructed Mohamad that he could not

      consummate the marriage under that roof, but must wait until Mohamad was

      financially able to provide for their own house.

14.   Mohamad and Amal did not consummate their marriage.

15.   On a number of occasions, Amal snuck into Mohamad’s room at night and the

      two engaged in conduct expressing physical affection.

16.   While he was living with Amal and her family, Mohamad worked at the gas

      station owned by Amal’s father. He worked 56 hours per week during most

      weeks, though during some weeks he worked as many as 77 hours. He was

      paid $8.00 an hour. The couple opened a joint bank account. The sole income

      source for this account was Mohamad’s wages from the gas station. Amal and

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      Mohamad both used this account to make purchases. Amal was attending high

      school and did not have a regular source of income at this time.

17.   During the time the couple was living together in Dearborn, they visited

      Mohamad’s boyhood friend and some of his relatives. The friend and relatives

      believed that Amal and Mohamad interacted as a normal married couple would.

18.   In the summer of 2002, Amal took a two month vacation to Lebanon. Mohamad

      remained in Dearborn. Amal’s mother and Mohamad both provided funds to pay

      for the trip.

19.   Mohamad and Amal began to regularly get into arguments about their future in

      late 2002 and early 2003. They argued about money and Mohamad’s inability to

      provide a house for the couple, among other things.

20.   On February 22, 2003, the couple had an argument. Amal told Mohamad that

      she wanted a divorce. The couple consulted Amal’s father about the possibility

      of divorce. Amal’s father called Mohamad’s family in Lebanon to inform them of

      the marital problems and the possibility of divorce. The couple was scheduled to

      attend an appointment with a Muslim cleric to discuss the possibilities of divorce

      or reconciliation on the morning of February 27, 2003.

21.   Mohamad withdrew $2,500 from the couple’s joint bank account on February 24,

      2003. He returned to Lebanon on February 26, 2003. He did not attend the

      appointment scheduled with the Muslim cleric. Mohamad and Amal have had no

      contact since he left the country.

22.   On February 27, 2003, a nurse practioner examined Amal Fawaz and

      determined that her hymen was intact.

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23.   In March of 2003, Amal filed for an annulment of the marriage in Wayne County

      Circuit Court, claiming that Mohamad entered the marriage for the sole purpose

      of obtaining legal residence in the United States. She served the complaint on

      Mohamad in Lebanon. Mohamad submitted a letter to the Wayne County Circuit

      Court claiming that he did not enter the marriage fraudulently, but left the country

      to care for his sick mother.

24.   In May of 2003, Mohamad obtained a Lebanese marriage certificate for his and

      Amal’s marriage.

25.   The marriage was annulled by a judgment of the Wayne County Circuit Court in

      July of 2003.

26.   Amal Fawaz remarried on February 14, 2004.

27.   Mohamad reentered the United States from Canada in May, 2004. After

      consulting with an immigration attorney, on May 26, 2004, Mohamad filed a

      petition to have the condition of being married to a U.S. citizen removed from his

      resident alien status. His reason for removal was that he entered into the

      marriage in good faith but the marriage was terminated. This request was denied

      in a letter dated June 18, 2004.

28.   After his petition was rejected, Mohamad remained in the United States and lived

      with his aunt. Mohamad was taken into administrative custody on April 11, 2005.

                               CONCLUSIONS OF LAW

1.    The government must prove beyond a reasonable doubt the three elements of

      the crime of marriage fraud: first, that the defendant entered into a marriage;

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      second, that the defendant knowingly entered into the marriage for the purpose

      of evading the United States immigration laws, and third, that the defendant knew

      or had reason to know of the relevant immigration laws. United States v.

      Chowdhury, 169 F.3d 402, 406 (6th Cir. 1999).

2.    The first element of the crime, that defendant entered into a marriage, has been

      proved beyond a reasonable doubt.

3.    The third element of the crime, that defendant knew that entering into a marriage

      for the purpose of evading the United States immigration laws was illegal, has

      also been proved beyond a reasonable doubt.

4.    The second element of the crime, that defendant entered the marriage for the

      purpose of evading the United States immigration laws, has not been proved

      beyond a reasonable doubt.



                          s/John Corbett O’Meara
                          John Corbett O’Meara
                          United States District Judge


Dated: August 9, 2005




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